      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 1 of 41




                                              RECEIVE
                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF AI1ø1A P 2: 2
                         NORTHERN DIVISION       p. BACKE n^)CLK
                                                           DEBRA,

                                                              Th OLE 0
ROBERT HARVEY FULLER, and
KA'TORIA GRAY,


      Plaintiffs,
                                                     CIVIL ACTION NO..              c\J   ¶
vs.

KOCH FOODS, INC.; KOCH FOODS OF
ALABAMA, LLC; DAVID BIRCHFIELD;
and MELISSA MCDICKINSON,                             PLAINTIFFS DEMAND A
                                                     TRIAL BY STRUCK JURY.
      Defendants.


                                   COMPLAINT


                          JURISDICTION AND VENUE

1.    This is a suit to obtain relief for race discrimination and retaliation under 42

      U.S.C. § 1981. The Plaintiffs seek to recover under Alabama tort law as well

      as the Racketeering Influenced and Corrupt Organizations Act.

2.    The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331,

      1343(4) and 28 U.S.C. § 2201 and 2202.

3.    Venue is proper in that the alleged acts occurred in Montgomery County,

      Alabama.
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 2 of 41



                                    PARTIES

4.    Plaintiff Robert Harvey Fuller is an African-American, male resident of

      Montgomery County, Alabama who is over the age of 19.

5.    Plaintiff Ka'Toria Gray is an African-American, female resident of

      Montgomery County, Alabama who i5 over the age of 19.

6.    Defendant Koch Foods of Alabama LLC, ("Koch-Ala") is a corporation that

      owns and operates facilities at which it processes and packages chicken

      products ("Montgomery processing facilities") for sale and ultimately for

      consumption by the public, and does such business in Montgomery, Alabama.

7.    The Koch-Ala complex consists of a Debone Plant, Kill Plant, Hatchery and

      Shipping Facility.

8.    Defendant Koch Foods, Inc. is a corporation that owns and operates facilities

      at which it processes and packages chicken products at various locations

      around the country for sale and ultimately for consumption by the public and

      that also allows or licenses the use of the name of "Koch Foods" by similar

      businesses including Defendant Koch-Ala.

9.    During the time Plaintiffs worked at Defendant Koch-Ala's Montgomery

      facility, Defendant David Birchfield was the complex human resources

      manager for all of Koch Foods and Koch-Ala's Montgomery facilities.

10.   Defendant. Birchfield maintained an office at Koch-Ala's Kill Plant.


                                        2
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 3 of 41



11.   During the time Plaintiffs worked at Defendant Koch-Ala's Montgomery

      facility, Defendant Melissa McDickinson was the human resources manager

      for the Debone Plant owned and operated by Koch Foods and Koch-Ala.

12.   The Debone Plant at Koch-Ala is across the street from the Kill Plant.

13.   Defendant McDickson Worked under the direct supervision of Defendant

      Birchfield.

14.   Defendant Birchfield worked under the direct supervision of Bobby Elrod.

15.   Bobby Elrod is employed by Koch Foods.

16.   Bobby Elrod is the Director of Human Resources for Koch Foods.

                          ADMINISTRATIVE REMEDIES

17.   On October 9, 2015, Mr. Fuller filed a Charge of Discrimination with the

      United States Equal Employment Opportunity Commission ("EEOC")

      alleging that during the time he worked for Defendants he experienced

      unlawful discrimination based on his race, color and gender in violation of

      Title VII of the Civil Rights Act of 1964, as amended ("Title VII"), and

      experienced unlawful retaliation in violation of Title VII.

18.   The EEOC has not yet issued a notice of right to sue to Mr. Fuller.

19.   Mr. Fuller intends on amending this action to include his claims for violation

      of Title VII after receipt of his notice of 'right to sue.

20.   On April 18, 2016, Ms. Gray filed a Charge of Discrimination with the United


                                            3
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 4 of 41



      States Equal Employment Opportunity Commission ("EEOC") alleging that

      during the time she worked for Defendants she experienced unlawful

      discrimination based on her gender in violation of Title VII and experienced

      unlawful retaliation in violation of Title VII.

21.   On November 7, 2016, Ms. Gray filed a second Charge of Discrimination with

      the EEOC. She alleged she had experienced retaliation from filing her first

      Charge of Discrimination.

22.   The EEOC has not yet issued a notice of right to sue to Ms. Gray for either of

      her Charges of Discrimination.

23.   Ms. Gray intends on amending this action to include her claims for violation

      of Title VII after receipt of her notice of right to sue.

                              STATEMENT OF THE FACTS

24.   On or about January 24, 2011, Ms. Gray began working as a Licensed

      Practical Nurse at the Koch-Ala Montgomery location.

25.   Ms. Gray later became a Registered Nurse and worked in that capacity at the

      Koch-Ala Montgomery location.

26.   Ms. Gray's place of work was the Debone facility at Koch-Ala.

27.   Through most of 2015, Ms. Gray reported to Frank Shelly.

28.   Mr. Shelly worked for Koch Foods in Cumming, Georgia.

29.   Throughout her employment, Ms. Gray worked with Betty Stabler, safety


                                            4
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 5 of 41



      supervisor.

30.   Ms. Stabler is white.

31.   Ms. Stabler treated Ms. Gray negatively because of Ms. Gray's race.

32.   Ms. Stabler made racist remarks.

33.   In early 2015, Onin Staffing placed Mr. Fuller in an HR Clerk position at

      Koch-Ala's Debone Facility.

34.   Melissa McDickinson interviewed Mr. Fuller.

35.   Ms. McDickinson's interview of Mr. Fuller was brief.

36.   Mr. Fuller worked under the supervision of Melissa McDickinson.

37.   The bulk of Mr. Fuller's responsibilities revolved around recruitment,

      orientation and training.

38.   Approximately a month after being placed at Koch-Ala through Onin Staffing,

      Koch-Ala hired Mr. Fuller to work directly for the company.

39.   Ms. McDiciknson flirted with Mr. Fuller.

40.   Ms. McDickinson tried to kiss Mr. Fuller.

41.   Ms. McDickinson brushed her breasts and knees against Mr. Fuller when he

      sat at the computer.

42.   Ms. McDickinson found excuses to touch Mr. Fuller's chest, brush his

      shoulders and fix his tie.

43.   Ms. McDickinson made inquiries to Mr. Fuller about his sex life.


                                         5
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 6 of 41



44.   Ms. McDickinson approached Mr. Fuller with requests for sex and sexual

      favors.

45.   Ms. McDickinson requested Mr. Fuller leave his family to "get with someone

      who is going places" and implied that Mr. Fuller complying with her requests

      would improve his employment situation.

46.   Ms. McDickinson said to Mr. Fuller that he needed to get with the program

      and get with her ways.

47.   Mr. Fuller inferred Ms. McDickinson was demanding he engage in a

      relationship with her to ensure the security of his job.

48.   Ms. McDickinson called Mr. Fuller when he was at home.

49.   Mr. Fuller heard from one or more coworkers that Ms. McDickinson had said

      she wanted him to be her "work n      m   " and wanted his "big black dick."

50.   Mr. Fuller heard Ms. McDickinson had used her position to compel sexual

      relationships with other African-American employees.

51.   Ms. McDickinson's conduct toward Mr. Fuller made him uncomfortable.

52.   Mr. Fuller refused Ms. McDickinson's advances.

53.   Upon information and belief, plant manager Randy Davenport wrote to Bobby

      Elrod complaining about Ms. McDickinson pursuing sexual contact with

      employees.

54.   Mr. Fuller was afraid to complain to David Birchfield about Ms.
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 7 of 41



      McDickinsons' sexually aggressive conduct toward him because he had heard

      Mr. Birchfield and Ms. McDickinson were in a sexual relationship.

55.   On several occasions, Mr. Fuller observed and heard of African-American

      employees being treated disrespectfully and adversely by a white supervisor

      named Bobby Partain.

56.   Mr. Fuller heard other supervisors mention Mr. Partain had verbally accosted

      African-American employees and that the African-American employees were

      then disciplined or dismissed.

57.   Concerned there was a problem with Mr. Partain discriminating against

      African-American employees, Mr. Fuller voiced his opposition to Mr.

      Partain's conduct to Mr. Birchfield and Ms. McDickinson.

58.   Mr. Fuller observed that Defendant Koch-Ala favored considering Hispanic

      and/or undocumented workers for employment.

59.   Mr. Fuller observed eligible African-American candidates disqualified from

      the hiring process l without explanation despite having complete applications

      and work history.

60.   Mr. Fuller observed Hispanic applicants with incomplete applications,

      questionable identification, missing work history, and missing phone numbers

      being interviewed and hired.

61.   Mr. Fuller voiced concerned that some of the Hispanic workers would not be


                                         7
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 8 of 41



      legally eligible for employment.

62.   Mr. Fuller overheard supervisors complaining about the hiring of black

      employees and expressing a preference for Hispanic workers.

63.   In May 2015, plant manager Randy Davenport reviewed applicants'

      applications with Mr. Fuller.

64.   Mr. Davenport's race is white.

65.   Mr. Davenport pulled and passed on for consideration by the night time

      manager applications from workers with names that appeared to be Hispanic.

66.   Mr. Fuller objected to Mr. Davenport that it appeared he was passing over the

      applicants with names more commonly associated with African-Americans in

      favor of Hispanics.

67.   Mt. Davenport smiled and winked at Mr. Fuller.

68.   Mr. Fuller took his complaint to both Ms. McDickinson and Mr. Birchfield.

69.   On or about May 18, 2015, Mr. Fuller emailed a complaint to Ms.

      McDickinson and Mr. Birchfield about Bobby Partain's treatment of an

      African-American employee, Elvin Mitchell.

70.   The next day, Ms. McDickinson questioned Mr. Fuller about his judgment in

      sending the email, telling him it was too easy to track.

71.   Female employees of races different than Mr. Fuller's who worked in human

      resources left Koch-Ala's facilities for lunch and were not terminated.


                                          8
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 9 of 41



72.   Mr. Fuller could leave Koch-Ala's facility for lunch.

73.   Mr. Fuller's time allotted for lunch was an hour.

74.   On May 22, 2015, Mr. Fuller used his hour for lunch to attend his son's

      elementary school graduation.

75.   Mr. Fuller left Koch-Ala's premises with the permission and knowledge of

      Ms. McDickinson.

76.   When Mr. Fuller attempted to return to work, he was not allowed to do so.

77.   The persons staffing the guard shack at Koch-Ala would not allow Mr. Fuller

      to enter the premises, gave him Ms. McDickinson's cell phone number, and

      told him he could not return until notified.

78.   Mr. Fuller attempted calling Ms. McDickinson several times.

79.   Ms. McDickinson did not accept nor return Mr. Fuller's calls.

80.   On May 25, 2015, Mr. Fuller emailed Kathy Denton in the Human Resources

      Department.

81.   Concerned that he had not been contacted by Ms. McDickinson or Mr.

      Birchfield, Mr. Fuller expressed to Ms. Denton he was not being allowed to

      return to work and had not received any word about his status.

82.   On May 29, 2015, Mr. Fuller learned his employment at Koch-Ala had been

      terminated.

83. The reason given to Mr. Fuller for his termination was job abandonment.
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 10 of 41



84.   Mr. Fuller complained to Bobby Elrod about his termination.

85.   Mr. Elrod did not take any action.

86.   On October 9, 2015 1 Mr. Fuller filed a Charge of Discrimination with the

      EEOC alleging race discrimination, sexual harassment and retaliation.

87.   On or about October 28 1 2015, an employee in Human Resources named

      Alycia Hughes complained to Julia Bruno in an email that Melissa

      McDickinson was not at the facility most of the day, left at random hours, and

      left before 5:00 p.m.

88.   Ms. Hughes complained that at times Ms. McDickinson did not come to work

      and left the human resources clerks without an idea as to where she was or

      when she would be in.

89.   Ms. Hughes complained Ms. McDickinson's conduct was interfering with

      human resources ability to do their job.

90.   Ms. McDickinson was not terminated for this conduct.

91.   Prior to Mr. Fuller's termination, Mitzi James, a white employee in Human

      Resources, left work without permission, leaving the human resources

      department unattended.

92.   Mr. Birchfield did not terminate Ms. James.

93.   Mr. Birchfield suspended Ms. James.

94.   Ms. James' race is white.


                                           10
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 11 of 41



95.   In the fall of 2015, Ms. McDickinson expressed to Stevan Jackson, a union

      representative working at Koch-Ala, she was sexually attracted to Ka'Toria

      Gray.

96.   Ms. McDickinsofl told Mr. Jackson she wanted to have sex with Ms. Gray.

97.   By November 1, 2015, Koch Foods and/or Koch-Ala had notice of Mr.

      Fuller's EEOC Charge alleging sexually harassing conduct by Melissa

      McDickinson.

98.   On or around November 14, 2015, Ms. MeDickinson and Mr. Birchfield

      invited Ka'Toria Gray to the house where they lived.

99.   Ms. McDickinson communicated to Ms. Gray that Mr. Birchfield wanted to

      talk to her about some things regarding work.

100. Ms. Gray responded that it was late and she would see them at work on

      Monday.

101. Ms. McDickinson insisted Ms. Gray come to their home.

102. When Ms. Gray arrived, Mr. Birchfield asked her if he could trust her.

103. Mr. Birchfield then discussed his intentions with respect to the employment

      future of another employee.

104. Ms. Gray took a seat.

105. Ms. McDickinson sat next to Ms. Gray and rubbed Ms. Gray on the leg and

      tried to kiss her.


                                        11
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 12 of 41



106. Ms. McDickinson told Ms. Gray she thought she was hot.

107. Ms. McDickinson told Ms. Gray she wanted to kiss her.

108. Mr. Birchfield looked at Ms. Gray and again asked if he could trust her.

109. Ms. McDickinson grabbed Ms. Gray's hand and touched Ms. McDickinson's

      breast with it.

110. Ms. McDickinson asked Ms. Gray if her breast felt real.

111. Ms. Gray removed her hand.

112. Ms. McDickinson asked Ms. Gray to dance with her.

113. Ms. McDickinson pulled Ms. Gray to her feet.

114. Ms. Gray declined to dance.

115. While Ms. McDickinson stood in front of Ms. Gray, Mr. Birchfield

      approached her and stood behind her.

116. Mr. Birchfield kissed Ms. Gray's neck.

117. Ms. McDickinson kissed Ms. Gray.

118. Ms. MeDickinson's and Mr. Birchfield's conduct upset Ms. Gray.

119. Ms. Gray stepped away.

120. Ms. McDickinson and Mr. Birchfield propositioned Ms. Gray to have sex with

      them.

121. Ms. Gray declined.

122. Ms. Gray told them she was not interested in a sexual relationship with them..


                                        12
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 13 of 41



123. Ms. McDickinson said she thought Ms. Gray was bisexual.

124. Ms. Gray responded she was not.

125. Ms. McDickinson said that Mr. Birchfield could watch her have sex with Ms.

      Gray.

126. Ms. Gray declined.

127. Ms. McDickinson pulled Mr. Birchfield's penis out of his pants.

128. Ms. McDickinson performed oral sex on Mr. Birchfield in front of Ms. Gray.

129. Ms. McDickinson's and Mr. Birchfield's actions upset Ms. Gray.

130. Ms. Gray fled to the restroom.

131. Ms. Gray had heard rumors that Ms. McDickinson had pursued other

      employees sexually.

132. Ms. Gray knew Ms. McDickinson had an ongoing sexual relationship with

     Mr. Birchfield.

133. There was no higher ranking human resources employee at Koch-Ala than

     Mr. Birchfield.

134. Ms. Gray left the restroom and went to her car.

135. Ms. McDickinson followed Ms. Gray to her car and asked her to spend the

     night.

136. Mr. Birchfield was standing at the door to the house in his underwear and t-

      shirt.


                                        13
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 14 of 41



137. Mr. Birchfield asked Ms. Gray to spend the night.

138. Ms. Gray declined.

139. Ms. Gray got in her car and returned home.

140. The following Monday at work, Ms. Gray shared with several coworkers and

      a supervisor what had happened.

141. Ms. Gray told them she did not want to be in her office in the basement alone.

142. Because Ms. McDickinson and Mr. Birchfield were the highest ranking

      human resources employees at the plant, Ms. Gray did not feel she could

      complain to them about the conduct she experienced.

143. Ms. Gray did not feel she could complain to Bobby Elrod because she believed

      he was already aware of their conduct based on comments which had been

      made during a training session conducted by an attorney.

144. Ms. McDickinson continued to pursue Ms. Gray over the next few months.

145. Ms. McDickinson called Ms. Gray into her office.

146. When Ms. Gray arrived to Ms. McDickinson's office, Ms. McDickinson's

      shirt was unbuttoned, revealing her chest to the point that it made Ms. Gray

      uncomfortable.

147. Ms. McDickinson texted Ms. Gray to see what she was doing after work.

148. Ms. McDickinson texted Ms. Gray to come to her house.

149. Ms. McDickinson had at least one other employee ask Ms. Gray to come to


                                        14
    Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 15 of 41



     the house where Ms. McDickinson was living with Mr. Birchfield.

150. On or about March 14, 2016, Ms. Gray complained to Ms. McDickinson and

     saidthat she felt she was experiencing discrimination and harassment from

     white safety employees.

151. On or about March 21, 2016, McDickinson and Mr. Birchfield took Ms. Gray

     to lunch at La Zona Rosa to discuss Ms. Gray's complaint about the white

     safety employees.

152. Ms. McDickinson and Mr. Birchfield told Ms. Gray that she would no longer

     directly report to Safety Manger Frank Shelly.

153. Mr. Birchfield told Ms. Gray she would report directly to Ms. McDickinson

     and him.

154. Ms. Gray was concerned the chain in supervision was an effort to force her

     into a sexual relationship with Ms. McDickinson and Mr. Birchfield.

155. In March 2016, Ms. Gray heard that Irish Jenkins, a male employee, had been

     terminated by Mr. Birchfield because he would not allow Mr. Birchfield

     watch Mr. Jenkins have sex with Ms. MeDickinson.

156. Mr. Jenkins shared with Ms. Gray that Ms. McDickinson and Mr. Birchfield

     had asked him to approach Ms. Gray about having group sex with them.

157. Following his termination, Mr. Jenkins complained to Bobby Elrod about Ms.

     McDickinson and Mr. Birchfield pressuring employees into sexual


                                       15
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 16 of 41



     relationships.

158. Mr. Jenkins allowed Mr. Elrod to hear a recording he had made of Mr.

     Birchfield.

159. Mr. Elrod told Mr. Jenkins he had heard complaints like his before.

160. Ms. McDickinson and Mr. Birchfield began to scrutinize Ms. Gray to find a

     way to discipline her.

161. Ms. McDickinson and Mr. Birchfield were looking for away to discipline Ms.

      Gray for refusing their previous sexual advances and/or for her complaints of

     race discrimination.

162. On April 14, 2016, Ms. McDickinson issued a disciplinary action to Ms. Gray

      for alleged attendance issues but refused to give Ms. Gray a copy of the

      disciplinary action.

163. Ms. Gray requested a three (3) day leave of absence.

164. On or about April 16,2016, Ms. McDickinson attempted to contact Ms. Gray.

165. On April 18,2016, Ms. Gray filed a Charge of Discrimination with the EEOC.

166. On April 19, 2016, Stevan Jackson, a union steward, approached Ms. Gray

      and said Ms. McDickinson and Mr. Birchfield wanted to know if she wanted

     to go to Florida with them.

167. Ms. Gray responded by saying, "No."

168. That evening, Ms. Gray requested an administration handbook from human


                                        16
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 17 of 41



      resources since she had not received one.

169. Laura Cortez in human resources told Ms. Gray she did not have one, but she

      would get Ms. Dickinson to write hre up something.

170. On April 21, 2016 after 8:00 pm, Mr. Birchfield sent Ms. Gray a message

      from his iPhone to her work email regarding the location of a new time clock.

171. Ms. Gray was not given 24-hours notice.

172. Because the email was sent at a late hour, Ms. Gray did not see the email until

      April 22, 2016.

173. Ms. Gray felt Mr. Birchfield sent the message at a late hour so that she would

      be late clocking in.

174. When Ms. Gray attempted to clock in on April 22, 2016, she was unable to do

      SO.


175. Ms. Gray had been locked out of the office.

176. She asked Mr. Birchfield why she couldn't clock in.

177. Mr. Birchfield responded it was because she Was no longer supposed to clock

      in there and she should have checked her email.

178. Ms. Gray had to run to the location of the new time clock to clock in at a time

      to avoid being tardy.

179. Ms. Gray resigned her employment with Koch Foods and Koch-Ala.

180. Ms. Gray resigned because she was uncomfortable reporting to Ms.


                                         17
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 18 of 41



     McDickinson and Mr. Birchfield.

181. Ms. Gray felt complaining to Bobby Elrod would be ineffective because she

     had heard other employees had complained to him about Ms. McDickinson

      and Mr. Birchfield pursuing employees sexually, and he had not done

      anything to stop their behavior.

182. After Ms. Gray filed her Charge of Discrimination, Koch Foods and/or Koch

       Ala filed at least two complaints against Ms. Gray's nursing license with the

      Alabama Board of Nursing.

183. The complaints to the Board of Nursing were based on false allegations.

184. The complaints were intended to retaliate against and discredit Ms. Gray.

185. After Ms. Gray filed her Charge of Discrimination, it is believed Ms.

      Dickinson and Mr. Birchfield continued to pursue employees at Koch-Ala for

      sexual encounters.

                                     COUNT I
                               INVASION OF PRIVACY
                                   (Harvey Fuller)

186. Plaintiff Harvey Fuller adopts and incorporates the facts set out above in

      support of this count.

187. Defendants McDickinson, Koch Foods and Koch-Ala invaded Mr. Fuller's

      privacy by subjecting him to offensive and unwanted sexual overtures and

      making inquiries into his sex life.


                                            18
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 19 of 41



188. Defendants' conduct offended and embarrassed Mr. Fuller.

189. Defendant McDickinson's actions toward Mr. Fuller were taken while she

     was acting in her role as his supervisor.

190. Defendants Koch Foods and Koch-Ala ratified and permitted Defendant

     McDickinson' s conduct.

191. Defendants Koch Foods and Koch-Ala are liable for the conduct of Defendant

     McDickinson.

192. Defendants injured Mr. Fuller.

     WHEREFORE, PREMISES CONSIDERED, the Plaintiff Harvey Fuller

respectfully requests the entry of a judgment against Defendants McDickinson,

Koch Foods and Koch-Ala pursuant to an order awarding:

     a.     Compensatory damages to be determined by the trier of fact;

     b.    Punitive damages to be determined by the trier of fact;

     C.    Injunctive relief;

     d.    That relief which is fair, just and equitable under the circumstances of

           the case; and

     e.    The costs of this suit.

                                 COUNT II
                           INVASION OF PRIVACY
                               (Ka'Toria Gray)

193. Plaintiff Ka'Toria Gray adopts and incorporates the facts set out above in


                                         Ii,
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 20 of 41



      support of this count.

194. Defendants Birchfield, McDickinson, Koch Foods and Koch-Ala invaded Mr.

      Gray's privacy by subjecting her to offensive and unwanted sexual overtures

      and making inquiries into her sex life.

195. Defendants' conduct offended and embarrassed Ms. Gray.

196. Defendants' McDickinson's and Birchfield's actions toward Ms. Gray were

      taken while they were acting in their roles as human resources professionals

      and supervisors.

197. Defendants Koch Foods and Koch-Ala ratified and permitted Defendant

      McDickinson' s conduct.

198. Defendants Koch Foods and Koch-Ala ratified and permitted Defendant

      Birchfield's conduct.

199. Defendants Koch Foods and Koch-Ala are liable for the conduct of

      Defendants McDickinson and Birchfield.

200. Defendanis injured Ms. Gray.

      WHEREFORE, PREMISES CONSIDERED, the Plaintiff Ka'Toria Gray

respectfully requests the entry of a judgment against Defendants McDickinson,

Birchfield, Koch Foods and Koch-Ala pursuant to an order awarding:

      a.    Compensatory damages to be determined by the trier of fact;

      b.    Punitive damages to be determined by the trier of fact;


                                         20
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 21 of 41



      C.    Injunctive relief;

      d.    That relief which is fair, just and equitable under the circumstances of

            the case; and

      e.    The costs of this suit.

                                  COUNT III
                            ASSAULT AND BATTERY
                                (Ka'Toria Gray)

201. Plaintiff Ka'Toria Gray adopts and incorporates the facts set out above in

      support of this count.

202. Defendants Birchfield, McDickinson, Koch Foods and Koch-Ala subjected

      Ms. Gray to the threat of offensive and unwanted touching.

203. Defendants Birchfield, McDickinson, Koch Foods and Koch-Ala subjected

      Ms. Gray to offensive and unwanted touching.

204. Defendants' conduct offended and embarrassed Ms. Gray.

205. Defendants' McDickinson's and Birchfield's actions toward Ms. Gray were

     taken while they were acting in their roles as human resources professionals

      and supervisors.

206. Defendants Koch Foods and Koch-Ala ratified and permitted Defendant

     McDickinson' s conduct.

207. Defendants Koch Foods and Koch-Ala ratified and permitted Defendant

     Birchfield' s conduct.


                                        21
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 22 of 41



208. Defendants Koch Foods and Koch-Ala are liable for the conduct of

      Defendants McDickinson and Birchfield.

209. Defendants injured Ms. Gray.

      WHEREFORE, PREMISES CONSIDERED, the Plaintiff Ka'Toria Gray

respectfully requests the entry of a judgment against Defendants McDickinson,

Birchfield, Koch Foods and Koch-Ala pursuant to an order awarding:

      a.    Compensatory damages to be determined by the trier of fact;

      b.    Punitive damages to be determined by the trier of fact;

      C.    Injunctive relief;

      d.    That relief which is fair, just and equitable under the circumstances of

            the case; and

      e.    The costs of this suit.

                                • COUNT IV
                            ASSAULT AND BATTERY
                                  (Harvey Fuller)

210. Plaintiff Harvey Fuller adopts and incorporates the facts set out above in

      support of this count.

211. Defendants McDickinson, Koch Foods and Koch-Ala subjected Mr. Fuller to

      the threat of offensive and unwanted touching.

212. Defendants McDickinson, Koch Foods and Koch-Ala subjected Mr. Fuller to

      offensive and unwanted touching.


                                         22
    Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 23 of 41



213. Defendants' conduct offended and embarrassed Mr. Fuller.

214. Defendant McDickinson's actions toward Mr. Fuller were taken while she

      was acting in her role as Mr. Fuller's supervisor.

215. Defendants Koch Foods and Koch-Ala ratified and permitted Defendant

      McDickinson' s conduct.

216. Defendants Koch Foods and Koch-Ala are liable for the conduct of Defendant

      McDickinson.

217. Defendants injured Mr. Fuller.

      WHEREFORE, PREMISES CONSIDERED, the Plaintiff Harvey Fuller

respectfully requests the entry of a judgment against Defendants McDickinson,

Koch Foods and Koch-Ala pursuant to an order awarding:

      a.    Compensatory damages to be determined by the trier of fact;

      b.    Punitive damages to be determined by the trier of fact;

      C.    Injunctive relief;

      d.    That relief which is fair, just and equitable under the circumstances of

            the case; and

      e.    The costs of this suit.

                                    COUNT V
                                    OUTRAGE
                                  (Ka'Toria Gray)

218. Plaintiff Gray adopts and incorporates the facts set out above in support of


                                         23
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 24 of 41



      this count.

219. Defendants Birchfield, McDickinson, Koch-Ala and Koch Foods acted

      intentionally to inflict emotional distress on Ms. Gray.

220. Defendants Birchfield's and McDickinson's actions toward Ms. Gray were

      taken while they were acting in their role as human resources professionals.

221. Defendants Koch Foods and Koch-Ala ratified and permitted Defendants

      Birchfield's and McDickinson's conduct.

222. Defendants Koch-Ala and Koch Foods are liable for the conduct of

      Defendants Birchfield and McDickinson.

223. Defendants injured Ms. Gray.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff Ka'Toria Gray

requests the entry of a judgment against Defendants Birchfield, McDickinson,

Koch-Ala and Koch Foods pursuant to an order awarding:

      a.     Compensatory damages to be determined by the trier of fact;

      b.     Punitive damages to be determined by the trier of fact;

      c.     Injunctive relief;

      d.     That relief which is fair, just and equitable under the circumstances of

            the case; and

      e.     The costs of this suit

                                      COUNT VI
                                      OUTRAGE
                                         24
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 25 of 41



                                  (Harvey Fuller)

224. Plaintiff Fuller adopts and incorporates the facts set out above in support of

      this count.

225. Defendants McDickinson, Koch-Ala and Koch Foods acted intentionally to

      inflict emotional distress on Ms. Gray.

226. Defendant McDickinson's actions toward Mr. Fuller were taken while she

      were acting in her role as a human resources professional.

227. Defendants Koch Foods and Koch-Ala ratified and permitted Defendant

      McDickinson' s conduct.

228. Defendants Koch-Ala and Koch Foods are liable for the conduct of Defendant

      McDickinson.

229. Defendants injured Mr. Fuller.

      WHEREFORE, PREMISES CONSIDERED, Plaintiff HarveyFuller

requests the entry of a judgment against Defendants McDickin son, Koch-Ala and

Koch Foods pursuant to an order awarding:

      a.     Compensatory damages to be determined by the trier of fact;

      b.    Punitive damages to be determined by the trier of fact;

      C.     Injunctive relief;

      d.    That relief which is fair, just and equitable under the circumstances of

            the case; and


                                         25
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 26 of 41



      e.     The costs of this suit

                         COUNT VII
  NEGLIGENT/WANTON SUPERVISION, TRAINING, AND RETENTION
               (Harvey Fuller and Ka'Toria Gray)

230. Plaintiffs adopt and reallege the paragraphs above as if fully set forth in full

      herein.

231. Defendant Koch-Ala had a duty to provide a reasonably safe, non-hostile and

      non-discriminatory work environment to its employees, including Plaintiffs.

232. Defendant Koch Foods had a duty to provide a reasonably safe, non-hostile

      and non-discriminatory work environment to its employees, including

      Plaintiffs.

233. Defendant Koch Foods knew, or should have known, of the conduct of

      Defendant Birchfield.

234. Defendant Koch Foods knew, or should have known, of the conduct of

      Defendant McDickinson.

235. Defendant Koch-Ala knew, or should have known, of the conduct of

      Defendant Birchfield.

236. Defendant Koch-Ala knew, or should have known, of the conduct of

      Defendant McDickinson.

237. Defendants Koch Foods negligently supervised, trained and/or retained

      Defendants Birchfield and McDickinson.


                                         26
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 27 of 41



238. Defendants Koch Foods-Ala negligently supervised, trained and/or retained

      Defendants Birchfield and McDickinson.

239. Defendants Koch Foods and Koch-Ala maliciously, deliberately, wantonly

      and/or negligently retained employees who engaged in tortious and/or illegal

      conduct, including, but not limited to, Defendants Birchfield and

      McDickinson.

240. Defendants Koch Foods and Koch-Ala failed to protect employees, such as

      Plaintiffs, from the tortious treatment described in this Complaint.

241. Asa result of the inaction by Defendants Koch Foods and Koch-Ala, Plaintiffs

      were injured.

      WHEREFORE, PREMISES CONSIDERED, the Plaintiffs respectfully

requests the entry of a judgment against Defendants Koch Foods and Koch-Ala

pursuant to an order awarding:

      a.    Compensatory damages to be determined by the trier of fact;

      b.    Punitive damages to be determined by the trier of fact;

      C.    Injunctive relief;

      d.    That relief which is fair, just and equitable under the circumstances of

            the case; and

      e.    The costs of this suit

                                      COUNT VIII
                                     42 U.S.C. 1981
                                           27
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 28 of 41



        RETALIATION FOR COMPLAINTS RACE DISCRIMINATION
                   (Harvey Fuller and Ka'Toria Gray)

242. This is a claim against Defendants Koch Foods and Koch-Ala arising under

      42 U.S.C. §1981 for taking adverse actions against Plaintiffs for making

      complaints of race discrimination.

243. Plaintiffs adopt and incorporate by reference the factual allegations set forth

      above.

24.4. Plaintiffs complained to Defendants of actions they believe in good faith to be

      racially discriminatory.

245. After Harvey Fuller complained to Defendants of actions he believed to be

      racially discriminatory, Defendants terminated his employment.

246. Defendants told Mt. Fuller they were terminating him due to job

      abandonment.

247. Mr. Fuller did not abandon his job.

248. Within days of complaining of discrimination to David Bjrchfield and Melissa

      McDickinson, Ka'Toria Gray received a disciplinary action initiated and

      authorized by David Birchfield andior Melissa McDickinson.

249. The disciplinary action would dissuade a reasonable person from engaging in

      protected activity.

250. Defendants Koch Foods and Koch-Ala retaliated against Plaintiffs for

      complaining of race discrimination.
                                           28
        Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 29 of 41



         WHEREFORE, PREMISES CONSIDERED, the Plaintiffs request entry of
G

    udgment under 42 U.S.C. §1981, against Defendants Koch Foods and KochAla

pursuant to an Order awarding:

         a.    compensatory damages to be determined by the trier of fact;

         b.    punitive damages to be determined by the trier of fact;

         C.    nominal damages to be determined by the trier of fact;

         d.    injunctive relief, including backpay and pre-judgment interest;

         e.    that relief which is fair, just, and equitable under the circumstances of

               this case;

         f.    reasonable attorney's fees; and

         g.    the costs of this suit

                            COUNT IX
     HE RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                             (RICO)
               VIOLATIONS OF 8 U.S.C. 1324(a)(1)(A)(iii)
                          (Harvey Fuller)

251. Plaintiffs adopt and reallege the paragraphs above as if fully set forth in full

         herein.

252. Defendants Koch Foods, Koch-Ala and Birch.field engaged in an enterprise

         that engaged in a pattern of racketeering conduct described more specifically

         below.

253. Defendants Koch Foods, Koch-Ala and Birchfield are, and have been for
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 30 of 41



      years, active participants in an ongoing "enterprise," within the meaning of

      that word as it is used in RICO, 18 U.S.C. § 196 1(4), in the form of running,

      managing and operating chicken processing facilities as business operations

      with common purposes of (a) for financial gain by reducing labor costs of

      their business' operations and enterprise, (b) for financial gain by generating

      revenues and making money and profits in their business' operations and

      enterprise, (c) promoting their business' operations and "enterprise," the

      brand name of 'Koch Foods", and the products sold and services Koch and

      Koch-Ala provide to customers of their business' operations and enterprise.

254. The business operations run, managed and operated by Defendants, and their

      enterprise, has been for many years an ongoing operation, and absent this

      Court's intervention, will probably and likely continue to operate, as a

      racketeering "enterprise" unlawful under RICO for the common purposes

      described above.

255. Each Defendant participates in the management of the "enterprise" described

      above, including the operations of the "Montgomery processing facilities"

256. Defendants Koch Foods and Koch-Ala spend some of the money and profits

      they earn and receive from their promoting the brand name of "Koch Foods",

      and from the sales of chicken products sold and services performed by Koch

      and Koch-Ala for customers of their chicken processing facilities for the


                                         30
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 31 of 41



      benefit of Defendants Koch, Koch-Ala and Birchfield, to which Koch-Ala

      pays a salary to manage the "Montgomery processing facilities" part of the

      unlawful enterprise.

257. In the enterprise, and particularly in the enterprise's "Montgomery processing

      facilities" Defendant Koch-Ala:

            a.     hired and employed employees known to be undocumented

                   workers and not authorized to work in this Country (hereafter

                      called "undocumented workers"),

            b.     hired and allowed undocumented workers as employees and

                      allowed them to remain employed despite the facts that

                 i.         they were known by Koch-Ala's supervisors and

                            management to be undocumented workers,

                 ii.        they did not produced and could not produce valid

                            documents demonstrating their true identities and

                            eligibility to work in this Country, and

            C.        contacted third parties to supply it more individuals for

                      employment, knowing that, or in reckless disregard of whether,

                   the individuals so supplied and employed were illegal and

                      ineligible to work or even be in this Country, and




                                           31
    Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 32 of 41



           d.     allowed undocumented workers to work, clock-in, be on Koch

                  Ala's payroll, have jobs and earn income under names and Social

                  Security ("SS") numbers, that were not theirs to use, which they

                  were nonetheless knowingly allowed to use.

258. Defendant Koch-Ala knowingly accepted false and counterfeit documents

     presented by undocumented workers falsely trying to establish their eligibility

     to work in this Country when they were not eligible to do so.

259. Defendant Koch-Ala knowingly signed and approved I9 forms for

     undocumented workers (based on false and counterfeit documents they

     presented) who were not eligible to work or even be in this Country

260. Under a regulation of the U. S. Department of Homeland Security, an

     employee has only "three business days of the hire" to present the necessary

     papers for completion of his/her 1-9 form. 8 C.F.R. § 274a.2 (b)(1)(11)

     (emphasis added).

 61. Defendants have a years-long pattern and practice and regularly have done

     business in an "enterprise" that does not comply with 8 C.F.R.

     § 274a.2(b)(1)(ii), and that does not follow-up to make sure undocumented

     workers present and have presented the necessary papers for completion or

     timely completion of his/her 1-9 form and to establish his/her eligibility to

     work in the United States.


                                        32
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 33 of 41



262. Instead, Defendants and their "enterprise" have for years engaged in the

      patterns of unlawful racketeering practices described herein.

263. In 2010, Defendant Koch paid fines totaling more than $536,000 arising from

      its Fairfield, Ohio's chicken processing facilities and Koch's failure to retain

      and check proof of employees' legal immigration status and eligibility to work

      in this Country.

264. In 2011, Defendants were sued by two former employees for civil RICO

      violations in this court relating to their knowingly pursuing and hiring of

      undocumented workers.

265. At times during his employment with Koch-Ala, Plaintiff Fuller had to, and

      did, fulfill human resources duties that included checking whether applicants

      for employment with Defendant Koch-Ala at the "Montgomery processing

      facilities" produced documents sufficient to establish their eligibility for work

      in this Country.

266. In fulfilling his duties described in the immediately preceding paragraph,

      Plaintiff, when appropriate, expressed the opinion that it would be proper to

      reject applicants for employment because the applicants could not provide, or

      timely provide, documents sufficient to establish their eligibility for

      employment in this Country or because the documents they provided appeared

      to be false and counterfeit, under circumstances Plaintiff believed employing


                                          33
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 34 of 41



      them would be knowingly employing undocumented workers or in reckless

      disregard of the fact that they were undocumented workers, only to later learn

      Defendant Koch-Ala's supervisors and management employed those same

      applicants.

267. As a regular part of their "enterprise" of Defendants, repeatedly and far more

      times than two, committed predicate acts that violated 8 U.S.C.

      1 324(a)( 1 )(A)(iii), by "knowing or in reckless disregard of the fact that an

      alien had come to, entered or remains in the United States in violation of law,

      concea![ed], harbor[ed] or shield[ed] from detection, or attempt[ed] to

      conceal, harbor or shield from detection, such aliens" in employment and in

      the buildings in which they worked at the "Montgomery processing facilities",

      by allowing known and suspected undocumented workers to use, in their

      illegal employment, names and Social Security numbers that were not theirs

      to use, paying known and suspected undocumented workers, on payroll under

      names and social security numbers that were not theirs to use, allowing known

      undocumented workers to become and remain in employment without

      requiring them to establish or timely establish their eligibility for employment

      in the United States, all, separately and together, as part ofthe steps, artifices

      and schemes Defendants' enterprise used in violation of "8 U.S.C. §

      1324(a)(1)(A)(iii), which makes it a federal crime to 'conceai[], harbor[], or


                                          34
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 35 of 41



      shield from detection' aliens that have illegally entered the United States."

      Williams v. Mohawk Indus., Inc., 465 F. 3d 1277, 1283 (11th Cir. 2006) (per

      curiam).

268. By knowingly accepting questionable or obviously fraudulent documentation,

      Defendants allowed undocumented workers to hide their true names and use

      names and Social Security numbers that were not theirs to use, helped

      undocumented workers go undetected by federal authorities.

269. Defendants violated 8 U.S.C. 1324(a)(1)(A)(iv), by "encourag[ing] or

      induc[ing] an alien to ... reside in the United States, knowing or in reckless

      disregard of the fact that that such coming to, entry, or residence is or will be

      in violation of law," by allowing known and suspected undocumented workers

      to use, in their illegal employment, names and Social Security numbers that

      were not theirs to use, to become and remain in employment without requiring

      them to establish or timely establish their eligibility for employment in the

      United States, preferring to employ, and so employing undocumented workers

      over American citizens who are lawfully and eligible to work in the United

      States, all, separately and together, as part of the elaborate steps and artifices

      and schemes Defendants used in violation of "8 U.S.C. § 1324(a)(1)(A)(iv),

      which makes it a federal crime to 'encourage[] or induce[] an alien to ... reside

      in the United States, knowing or in reckless disregard of the fact that such


                                          35
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 36 of 41



      residence is or will be in violation of the law.' " Id. Defendants actions

      provided undocumented workers with employment in the United States

      encourages and induces them to reside here.

270. Defendants violated 8 U.S.C. 1324(a)(1)(A)(v)(I)-(II), by engaging in

      conspiracies to commit, and aiding and abetting others to commit, the

      preceding violations described in subparagraphs (a)-(b) above, and

      committing the overt acts described above in furtherance of such crimes.

271. The activities described herein affect and affected interstate commerce.

272. As of the termination of Plaintiff Fuller's employment with Koch-Ala, the

      conduct of the "enterprise" (described above) included years-long, and were

      an ongoing continuing, pattern, as a regular part of business, racketeering

      activity in violation of RICO, 18 U.S.C. § 196 1(1)(F), in, that Defendants and

      their "enterprises" repeatedly violated and continued to violate "8 U.S.C. §

      1 324(a)(3)(A), which makes it a federal crime to 'knowingly hire[] for

      employment at least 10 individuals with actual knowledge that the individuals

      are aliens' during a twelve month period," Id.

273. Under the management and oversight of Defendants far more than two of the

      predicate acts described above were pail of the pattern of racketeering conduct

      in Defendants' "enterprise" described above.

274. At the time Plaintiff Fuller's employment ended with Koch-Ala, the conduct


                                         36
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 37 of 41



      unlawful under RICO as described herein was ongoing, known to Defendant,

      had been going on for several years, and affected interstate commerce.

275. Absent intervention of this Court, Defendants and their enterprise will

      continue to engage in such ongoing violations of RICO.

276. The above-described illegal predicate acts regarding employment of

      undocumented workers had the purpose of and directly resulted in depriving

      Plaintiff and other lawfully employed individuals "business relations

      unhampered by schemes prohibited by the RICO predicate statutes."

      Williams, 465 F. 3d at 1289.

277. Plaintiff Fuller suffered direct injury to his business interests that was

      proximately and directly caused by the substantive RICO violations of

      Defendants and their "enterprise," which deprived Plaintiff "business

      relations unhampered by schemes prohibited by the RICO predicate statutes."

      Id.

278. Defendant terminated Plaintiff's employment due to his objection to

      Defendants' actions that constituted RICO violations.

279. The RICO violations were a proximate and direct cause of Plaintiff's

      discharge from employment with Defendant Koch-Ala.

      WHEREFORE, Plaintiff demands judgment, separately and severally, against

Defendants Koch, Koch-Ala and Birchfield for relief including:


                                        37
      Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 38 of 41



       a.       declaratory judgment that Defendants, by and through their enterprise,

are engaging, and have been engaged, in a pattern of racketeering conduct in

violations of RICO as alleged in this Count,

       b. an injunction prohibiting Defendants, their agents and anyone acting in

concert with them, from engaging in an enterprise that commits further violations of

RICO as described in this Count;

       C.       back pay and benefits

       d        reinstatement or, in the alternative in lieu of reinstatement, front pay

and benefits,

       e.       compensatory and punitive damages in amounts to be determined by

the jury;

       f.       an award of treble of all damages, back pay and benefits, front pay and

benefits awarded,

       g.       Plaintiff's reasonable attorneys' fees and expenses, plus costs; and

       h.       any further relief deemed appropriate by the Court.

                                       COUNT X
                                         RICO
                  VIOLATIONS OF 8 U.S.C. 1324(a)(1)(A)(iv)
                                    (Harvey Fuller)
280. Plaintiff Fuller reasserts all allegations above.

281. As alleged above, Defendants violated 8 U.S.C. 1324(a)(1)(A)(iii).

WHEREFORE, Plaintiff Fuller demands judgment, separately and severally, against


                                            38
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 39 of 41



Defendants Koch, Koch-Ala and Burchfield for relief including:

       a.       declaratory judgment that Defendants, by and through their enterprise,

are engaging, and have been engaged, in a pattern of racketeering conduct in

violations of RICO as alleged in this Count,

       b.       an injunction prohibiting Defendants, their agents and anyone acting in

concert with them, from engaging in an enterprise that commits further violations of

RICO as described in this Count;

       C.       back pay and benefits

       d        reinstatement or, in the alternative in lieu of reinstatement, front pay

and benefits,

       e.       compensatory and punitive damages in amounts to be determined by

the jury;

       f,       an award of treble of all damages, back pay and benefits, front pay and

benefits awarded,

       g.       Plaintiff's reasonable attorneys' fees and expenses, plus costs; and

       h.       any further relief deemed appropriate by the Court.

                                 COUNT XI
                                    RICO
                  VIOLATIONS OF 8 U.S.C. 1324(a)(1)(A)(v)(I)-(II)
                               (Harvey Fuller)

282. Plaintiff Fuller reasserts all allegations above.

283. By their conduct, alleged above, Defendants violated 8 U.S.C. §
                                            tit
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 40 of 41



       1 324(a)( 1 )(A)(v)(I)-(II), by conspiring to commit, and aiding and abetting, the

       above-described violations of RICO.

WHEREFORE, Plaintiff demands judgment, separately and severally, against

Defendants Koch, Koch-Ala and Burchfield for relief including:

       a.       declaratory judgment that Defendants, by and through their enterprise,

are engaging, and have been engaged, in a pattern of racketeering conduct in

violations of RICO as alleged in this Count,

       b.       an injunction prohibiting Defendants, their agents and anyone acting in

concert with them, from engaging in an enterprise that commits further violations of

RICO as described in this Count;

       C.       back pay and benefits

       ci       reinstatement or, in the alternative in lieu of reinstatement, front pay

and benefits,

       e.       compensatory and punitive damages in amounts to be determined by

the jury;

       f.       an award of treble of all damages, back pay and benefits, front pay and

benefits awarded,

       g.       Plaintiff's reasonable attorneys' fees and expenses, plus costs; and

       h.       any further relief deemed appropriate by the Court.

                PLAINTIFFS REQUEST A TRIAL BY STRUCK JURY.


                                            40
     Case 2:17-cv-00595-RAH-JTA Document 2 Filed 09/05/17 Page 41 of 41



                                    Respectfully submitted,


                                    gd"12aa                   4wae
                                    Heather Newsom"Leonard
                                    Attorney Code ASB-1 152061H
                                    ATTORNEY FOR PLAINTIFFS
OF COUNSEL:

HEATHER LEONARD, P.C.
P.O. Box 43768
Birmingham, AL 35243
Phone:      (205) 977-5421
Facsimile: (205) 278-1400
E-mail:     Heather@HeatherLeonardPC.Com

PLEASE SERVE DEFENDANTS VIA CERTIFIED MAIL:

Koch Foods of Alabama, LLC
do CT Corporation System
2 North Jackson Street, Suite 605
Montgomery, AL 36104

Koch Foods, Inc.
do Joseph Grendys
Chief Executive Officer
Koch Foods
1300 West Higgins Road
Park Ridge, IL 60068

David Birchfield
614 River Birch Drive
Prattville, AL 36067

Melissa McDickinson
614 River Birch Drive
Prattville, AL 36067




                                      41
